Case 19-34054-sgj11            Doc 3905 Filed 09/08/23 Entered 09/08/23 17:36:24                           Desc
                                  Main Document    Page 1 of 7




Sawnie A. McEntire
Texas State Bar No. 13590100
smcentire@pmmlaw.com
1700 Pacific Avenue, Suite 4400
Dallas, Texas 75201
Telephone: (214) 237-4300
Facsimile: (214) 237-4340

Roger L. McCleary
Texas State Bar No. 13393700
rmccleary@pmmlaw.com
One Riverway, Suite 1800
Houston, Texas 77056
Telephone: (713) 960-7315
Facsimile: (713) 960-7347

Attorneys for Hunter Mountain Investment Trust


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
    In re:                                               §
                                                         §
    HIGHLAND CAPITAL                                     §     Chapter 11
    MANAGEMENT, L.P.                                     §
                                                         §     Case No. 19-34054-sgj11
             Debtor.                                     §


         HUNTER MOUNTAIN INVESTMENT TRUST’S MOTION TO
ALTER OR AMEND ORDER, TO AMEND OR MAKE ADDITIONAL FINDINGS, FOR
   RELIEF FROM ORDER, OR, ALTERNATIVELY, FOR NEW TRIAL UNDER
  FEDERAL RULES OF BANKRUPTCY PROCEDURE 7052, 9023, AND 9024 AND
                      INCORPORATED BRIEF

             Hunter Mountain Investment Trust (“HMIT”), both in its individual capacity and

derivatively on behalf of the Reorganized Debtor, Highland Capital Management, L.P. (“HCM”

or “Debtor”) and the Highland Claimant Trust, 1 files this Motion to Alter or Amend Order, to


1
  And, in all capacities and alternative derivative capacities asserted in the Emergency Motion (as defined herein)
[Bankr. Dkt. Nos. 3699, 3815, and 3816], and the supplement to the Emergency Motion [Bankr. Dkt. No. 3760] and
the draft Complaint attached to the same [Bankr. Dkt. No. 3760-1].
Case 19-34054-sgj11           Doc 3905 Filed 09/08/23 Entered 09/08/23 17:36:24                 Desc
                                 Main Document    Page 2 of 7



Amend or Make Additional Findings, for Relief from Order, 2 or, Alternatively, for New Trial

Under Federal Rules of Bankruptcy Procedure 7052, 9023, and 9024 and Incorporated Brief (the

“Motion”), and respectfully states as follows:

          1.      HMIT filed an Emergency Motion for Leave to File Verified Adversary Proceeding

    (“Emergency Motion”) [Bankr. Dkt. Nos. 3699, 3815, and 3816], which was supplemented on

    April 23, 2023 [Bankr. Dkt. No. 3760]. By way of its Emergency Motion, HMIT sought leave to

    file an Adversary Proceeding pursuant to the Court’s gatekeeping order and the injunction and

    exculpation provisions in the Fifth Amended Plan of Reorganization of Highland Capital

    Management, L.P. [Bankr. Dkt. 1943], as modified (the “Plan”).


          2.      A hearing on the Emergency Motion was held on June 8, 2023. On August 25,

    2023, the Court issued its Memorandum Opinion and Order Pursuant to Plan “Gatekeeper

    Provision” and Pre-Confirmation “Gatekeeper Orders”: Denying Hunter Mountain Investment

    Trust’s Emergency Motion for Leave to File Verified Adversary Proceeding (the “Order”)

    [Bankr. Dkt. Nos. 3903 and 3904]. In the Order, among other things, the Court concluded that

    HMIT lacked standing to bring the proposed claims and therefore denied the Emergency Motion.

    Specifically, the Court found that “HMIT’s allegations of injury are, without a doubt, ‘merely

    conjectural or hypothetical’ and are only speculative of possible future injury if its Contingent

    Claimant Trust Interest ever vests.” [Bankr. Dkt. No. 3903 at 72].


          3.      This Motion seeks alteration of, or a new trial to re-consider, these and associated

    findings and conclusions relating to standing, because post-hearing financial disclosure filings in




2
  The “Order” refers to this Court’s Order Denying HMIT’s Emergency Motion for Leave to File Adversary
Proceeding. [Bankr. Dkt. Nos. 3903, 3904].

                                                   [2]
Case 19-34054-sgj11             Doc 3905 Filed 09/08/23 Entered 09/08/23 17:36:24                            Desc
                                   Main Document    Page 3 of 7



 the bankruptcy matter further evidence that the Court’s standing determinations are incorrect and

 should be corrected. 3


        4.       On July 6, 2023, while the Emergency Motion was pending, the Debtor and the

 Highland Claimant Trust filed a Notice of Filing of the Current Balance Sheet of the Highland

 Claimant Trust, showing the “general categories of assets and liabilities of the Highland Claimant

 Trust, subject to the accompanying notes.” [Bankr. Dkt. No. 3872; a copy of which is attached as

 Exhibit 1 to this Motion]. And on July 21, 2023, the Debtor filed its Post-Confirmation Report

 for Highland Capital Management, LP for the Quarter Ending June 30, 2023 [Bankr. Dkt. No.

 3888; a copy of which is attached as Exhibit 2 to this Motion] and the Highland Claimant Trust

 filed its Post-Confirmation Report for Highland Capital Management, LP for the Quarter Ending

 June 30, 2023 [Bankr. Dkt. No. 3889; a copy of which is attached as Exhibit 3 to this Motion].


        5.       As explained below, these financial documents further demonstrate that HMIT’s

alleged injuries are not “conjectural or hypothetical,” and, instead, demonstrate that its Contingent

Claimant Trust Interest will vest, or put colloquially, it is “in the money.” Stated otherwise, the

financial documents further establish HMIT’s standing and alleged non-speculative injury.


        6.       In support of this request, HMIT points the Court to the financial disclosures, which

further demonstrates that HMIT is now “in the money.”




3
  HMIT contests and disagrees with other adverse rulings in the Court’s order, including but not limited to (1) the
Court’s determination that the “colorability” question presents “mixed questions of law and fact” and its associated
decision to hold an evidentiary hearing; (2) the Court’s holding an evidentiary hearing without allowing HMIT to
obtain discovery and/or admit expert testimony, and (3) the Court’s determination that HMIT’s claims are not
“colorable” for reasons other than standing. HMIT intends to raise these and other issues on appeal and HMIT reserves
its rights accordingly. [See, e.g., Bankr. Dkt. Nos. 3790, 3853, 3903-04].

                                                         [3]
Case 19-34054-sgj11        Doc 3905 Filed 09/08/23 Entered 09/08/23 17:36:24               Desc
                              Main Document    Page 4 of 7




[See Exhibit 1, Bankr. Dkt. 3872, at Ex. A].


       7.      As this balance sheet demonstrates, even without pursuing the Kirschner

Adversary, the Claimant Trust has $247 million in assets and $139 million in Class 8 and 9 claims.

Moreover, the Claimant Trust’s balance sheet assets do not include a fully cash-funded $35

million indemnity account that presumably may be used to pay creditors in the event it is not

consumed by the indemnity-related expenses. [See Exhibit 1, Bankr. Dkt. 3872 at Ex. A, n. 1].

While the balance sheet includes “non-book” adjustments, they do not change HMIT’s “in the

money” status. One adjustment gives zero asset value to the notes payable by affiliates of Jim

Dondero. [See id. at Ex. A]. However, $70 million of those notes are (or shortly will be) fully

bonded by cash deposited in the registry of the district court. See N.D. Tex. Case No. 3:31-cv-

00881-X, Dkt. Nos. 149, 151, and 152. Another “adjustment” creates a $90 million “additional

indemnification reserve,” on top of the $35 million cash indemnity reserve. [See Exhibit 1, Bankr.


                                               [4]
Case 19-34054-sgj11              Doc 3905 Filed 09/08/23 Entered 09/08/23 17:36:24                              Desc
                                    Main Document    Page 5 of 7



    Dkt. 3872 at Ex. A]. It is unlikely, however, that these extensive indemnity reserves will ever be

    expended or necessary for indemnity. 4 Additionally, as the Post-Confirmation reports reveal, all

    of the administrative claims, secured claims, and priority claims have been paid in full. [Exhibit

    2, Bankr. Dkt. No. 3888, and Exhibit 3, Bankr. Dkt. No. 3889].


          8.      For all these reasons, HMIT is “in the money” under Claimant Trust’s recently

    disclosed balance sheet and disclosures. 5 Moreover, as this Court noted in a prior unrelated

    matter, HMIT must only show “significant indicia of solvency” to have standing. See In re ADPT

    DFW Holdings, LLC, Bankr. N.D. Tex. Case No. 17-31432, Dkt. No. 303 at Hrg. Trans. 131:22

    – 132:6. HMIT has made the showing and, this showing is further evidenced by the Claimant

    Trust’s own unadjusted balance sheet.


          9.      HMIT, along with the other Contingent Trust Interest holders are, as discussed

    above, “in the money.” In other words, HMIT has both constitutional and prudential standing to

    bring its asserted claims.


          10.     For the foregoing reasons, HMIT has standing and a cognizable injury to support

    the claims in its Emergency Motion. Thus, pursuant to Federal Rules of Bankruptcy Procedure

    7052, 9023, and 9024, HMIT requests that the Court alter or amend its findings and judgment

    that HMIT lacks standing or a cognizable alleged injury. Alternatively, HMIT requests that the



4
  Per the Plan, any indemnity is limited to fees and expenses, as no indemnity right would lie for a judgment entered
on a claim for which a plaintiff could assert or recover under the gatekeeper order and applicable law. Nor is it likely
that the Claimant Trust will incur even close to the reserved amounts for fees and expenses. For the bankruptcy case
as a whole, for example, the debtor’s bankruptcy and non-bankruptcy professional fees and expenses totaled only
approximately $40 million, pre-confirmation. [Exhibits 2, 3; Bankr. Dkt. Nos. 3888, 3889]. Also, as is clear from the
Motion and Order authorizing the creation of the Indemnity Trust Agreement, the projected indemnity reserve was
contemplated to be $25 Million, so the cash amount apparently set aside for indemnification amounts to $100 Million
more than contemplated. [Bankr. Dkt. Nos. 2491, 2599, attached as Exhibits 4-5].
5
  [See Exhibits 1 – 3, Bankr. Dkt. Nos. 3888, 3889].

                                                          [5]
Case 19-34054-sgj11         Doc 3905 Filed 09/08/23 Entered 09/08/23 17:36:24                Desc
                               Main Document    Page 6 of 7



Court grant a new trial or hearing pursuant to Federal Rule of Bankruptcy Procedure 9023 due to

the impact of the financial documents on HMIT’s standing and ability to assert the claims.


                                            PRAYER

       HMIT respectfully requests that the Court grant this Motion and alter or amend its findings

or Order to rule that HMIT has constitutional and prudential standing and a cognizable injury or,

alternatively, order a new trial/hearing.



Dated: September 8, 2023                     Respectfully Submitted,


                                             PARSONS MCENTIRE MCCLEARY PLLC

                                             By: /s/ Sawnie A. McEntire
                                                  Sawnie A. McEntire
                                                  Texas State Bar No. 13590100
                                                  smcentire@pmmlaw.com
                                                  1700 Pacific Avenue, Suite 4400
                                                  Dallas, Texas 75201
                                                  Telephone: (214) 237-4300
                                                  Facsimile: (214) 237-4340

                                                 Roger L. McCleary
                                                 Texas State Bar No. 13393700
                                                 rmcleary@pmmlaw.com
                                                 One Riverway, Suite 1800
                                                 Houston, Texas 77056
                                                 Telephone: (713) 960-7315
                                                 Facsimile: (713) 960-7347

                                                 Attorneys for Hunter Mountain Investment
                                                 Trust




                                               [6]
Case 19-34054-sgj11        Doc 3905 Filed 09/08/23 Entered 09/08/23 17:36:24                Desc
                              Main Document    Page 7 of 7



                             CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that the undersigned conferred with John Morris, counsel
for Debtor and the Highland Claimant Trust, and that, while Mr. Morris’ clients oppose the relief
requested in this motion, Mr. Morris and his clients have no objection to the making of this motion
(i.e., Mr. Morris and his clients agreed that this motion is not precluded by the stay in place or
other order of the Court).

                                              /s/ Sawnie A. McEntire
                                              Sawnie A. McEntire

        The undersigned hereby certifies that the undersigned conferred with Mr. Brent McIlwain,
counsel for Respondents Muck Holdings, LLC (“Muck”), Jessup Holdings LLC (“Jessup”),
Farallon Capital Management, L.L.C. (“Farallon”), and Stonehill Capital Management LLC
(“Stonehill,” and collectively, with Muck, Jessup, and Farallon, the “Claims Purchasers”), and Mr.
Mark T. Stancil, counsel for Respondent James P. Seery, Jr., and that, while Mr. McIlwain and
Mr. Stancil’s clients oppose the relief requested in this motion, Mr. McIlwain and Mr. Stancil and
their respective clients have no objection to the making of this motion (i.e., they also agree that
this motion it is not precluded by the stay in place or other order of the Court).

                                             /s/ Roger L. McCleary
                                             Roger L. McCleary




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on September 8, 2023, true and correct copies of this
document were electronically served by the Court’s ECF system on parties entitled to notice
thereof.

                                             /s/ Sawnie A. McEntire
                                             Sawnie A. McEntire




                                                [7]
